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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 IN RE:                                          §
                                                 §         CASE NO. 24-10120-smr
 TEXAS REIT, LLC                                 §
                                                 §
                         Debtor.                 §    CHAPTER 11

                 STATEMENT REGARDING PROOF OF CLAIM AND
              SUMMARY OF PROOF OF CLAIM JUDGMENTS’ DAMAGES

       Claimants reserve the right to (a) amend, clarify, modify, update or supplement this Proof

of Claim at any time and in any respect, including without limitation to assert additional claims

and requests for payment or additional grounds for its claims, or to specify the amount of

Claimants’ contingent, unmatured or unliquidated claims as they become noncontingent, matured

or liquidated; (b) file additional proofs of claim at any time and in any respect; (c) file a request

for payment of administrative or priority expenses, including but not limited to servicing fees, in

accordance with 11 U.S.C. §§ 503 and 507; or (d) pursue additional forms of relief, including,

without limitation, the imposition of a constructive trust, equitable lien or other legal or equitable

remedies. By virtue of the filing of this Proof of Claim, Claimants do not waive, and hereby

expressly reserves, its right to pursue claims and requests for payment.

       By filing this Proof of Claim, Claimants do not waive, and specifically preserve, its

procedural and substantive defenses to any claim that may be asserted against it by the Debtor, by

any trustee of the estate, or any other party. Claimants also reserve all rights accruing to it against

the Debtor, and the filing of this Proof of Claim is not intended to be and shall not be construed as

(a) an election of remedies or (b) a waiver or limitation of any rights of Claimants. Claimants

reserve the right to withdraw this Proof of Claim with respect to any claims for any reason

whatsoever.

       This Proof of Claim shall not be deemed to be a waiver of Claimants’ right: (a) to have

final orders in noncore matters entered only after de novo review by a District Court Judge, (b) to

trial by jury in any proceeding so triable in this case or any case, controversy, or proceeding related

to this case, (c) to have the District Court withdraw the reference in any matter subject to
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          23-03141 Claim#9-1
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mandatory or discretionary withdrawal, or (d) to any other rights, claims, actions, set-offs, or

recoupments to which Claimants are or may be entitled, in law or in equity, all of which rights,

claims, actions, defenses, set-off, and recoupments Claimants expressly reserve.

       By the filing of this Proof of Claim, Claimant do not submit to the jurisdiction of the

Bankruptcy Court for any purpose other than with respect to this Proof of Claim.

       The Claimants may recover funds which decrease the total amount owing from the Estate,

including but not limited to, due to certain asserts being abandoned.

                                     SUMMARY OF DAMAGES

       Creditors’ damages stem from 3 Judgments. Below are the calculations of the Judgments,

including interest. The Judgments are attached as Exhibits to the Proof of Claim.

Judgment 1. Davy and Heil Judgment.
I.    Lawsuit filed on 2-16-17.
II.   Judgment obtained on 6-23-20.
III.  Days of prejudgment interest: None because only attorneys’ fees awarded.
IV.   Pre-judgment interest stated in judgment: Not applicable.
V.    Damages in judgment: $0.00.
VI.   Attorneys’ fees in judgment: Trial Court – $344,029.89;
                                    Appellate Court – $45,300.00;
                                    Total attorneys’ fees: $389,329.89.
VII. Sanctions awarded in judgment: $0.00.
VIII. Pre-judgment interest in judgment: Not applicable.
IX.   Post-judgment interest: 5%;
      A.      Year 1: $19,466.49;
      B.      Year 2: $20,439.81;
      C.      Year 3: $21,461.81;
      D.      Year 4: $$61.73;-----> Total interest for year four through 6-3-24 ($21,296.85);
X.    Total amount due as of June 3, 2024: $501,513.85 with per diem interest continuing to
      accrue.
XI.   Court of Appeals Bill of Costs: (awarded per Court of Appeals Mandate).

Judgment 2. Abdullatif Judgment.
$4,153,452.72 as of May 31, 2024 (includes interest calculations).
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Judgment 3. HSLLP Judgment.
I.    Lawsuit filed on 6-29-20.
II.   Judgment obtained on 10-31-20.
III.  Days of prejudgment interest: None because only attorneys’ fees and sanctions awarded.
IV.   Pre-judgment interest stated in judgment: Not applicable.
V.    Damages in judgment: $0.00
VI.   Attorneys’ fees in judgment: Trial Court – $35,891.00;
                                    Appellate Court – $36,000.00;
                                    Total attorneys’ fees: $71,891.00.
VII. Sanctions awarded in judgment: $90,000.00.
VIII. Pre-judgment interest in judgment: Not applicable.
IX.   Post-judgment interest: 5%;
      A.      Year 1 post-judgment interest: $8,094.55;
      B.      Year 2 post-judgment interest: $8,499.27;
      C.      Year 3 post-judgment interest: $8,924.24;
      D.      Year 4 per diem is $25.67;-----> Total interest for year four through 6-3-24
              ($5,519.05);
X.    Total amount due as of June 3, 2024: $192,928.11 with per diem interest continuing to
      accrue.

TOTAL AMOUNT OWED FOR THREE JUDGMENTS: $4,847,894.68 plus continuing
post-judgment interest and attorneys’ fees.
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                                     JUDGMENT

                                  Court of Appeals
                             First District of Texas
                                   NO. 01-20-00615-CV

                         JETALL COMPANIES, INC., Appellant

                                             V.

RICHARD HEIL, TODD OAKUM, AND RENEE DAVY F/K/A RENEE DAVY F/K/A
                     RENEE OAKUM, Appellees

   Appeal from the 152nd District Court of Harris County. (Tr. Ct. No. 2017-10832).

       This case is an appeal from the final judgment signed by the trial court on June 23,
2020. After submitting the case on the appellate record and the arguments properly raised
by the parties, the Court holds that the trial court’s judgment contains no reversible error.
Accordingly, the Court affirms the trial court’s judgment.

       The Court orders that the appellant, Jetall Companies, Inc., pay all appellate costs.

       The Court orders that this decision be certified below for observance.

Judgment rendered August 16, 2022.

Panel consists of Justices Landau, Guerra, and Farris. Opinion delivered by Justice Guerra.
    Case
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         23-03141 Claim#9-1
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                                    MANDATE

                                Court of Appeals
                           First District of Texas
                                 NO. 01-20-00615-CV

                       JETALL COMPANIES, INC., Appellant

                                          V.

RICHARD HEIL, TODD OAKUM, AND RENEE DAVY F/K/A RENEE DAVY F/K/A
                     RENEE OAKUM, Appellees

   Appeal from the 152nd District Court of Harris County. (Tr. Ct. No. 2017-10832).

TO THE 152ND DISTRICT COURT OF HARRIS COUNTY, GREETINGS:

      Before this Court, on the 16th day of August 2022, the case upon appeal to revise
or to reverse your judgment was determined. This Court made its order in these words:

                     This case is an appeal from the final judgment signed
             by the trial court on June 23, 2020. After submitting the case
             on the appellate record and the arguments properly raised by
             the parties, the Court holds that the trial court’s judgment
             contains no reversible error. Accordingly, the Court affirms
             the trial court’s judgment.

                     The Court orders that the appellant, Jetall Companies,
             Inc., pay all appellate costs.

                    The Court orders that this decision be certified below
             for observance.
       Case
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              Judgment rendered August 16, 2022.

              Panel consists of Justices Landau, Guerra, and Farris. Opinion
              delivered by Justice Guerra.

        WHEREFORE, WE COMMAND YOU to observe the order of our said Court in
this behalf and in all things to have it duly recognized, obeyed, and executed.




December 16, 2022
Date                                                CHRISTOPHER A. PRINE
                                                    CLERK OF THE COURT
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                                                                   March 29, 2022




                                 JUDGMENT

                 The Fourteenth Court of Appeals
                     JETALL COMPANIES, INC., Appellant

NO. 14-20-00691-CV                          V.

                     HOOVER SLOVACEK LLP, Appellee
                     ________________________________

      This cause, an appeal from the judgment in favor of appellee, Hoover
Slovacek LLP, signed October 31, 2020, was heard on the appellate record. We
have inspected the record and find no error in the judgment. We order the
judgment of the court below AFFIRMED.

      We order appellant, Jetall Companies, Inc., to pay all costs incurred in this
appeal.

      We further order this decision certified below for observance.



Judgment Rendered March 29, 2022.

Panel Consists of Justices Jewell, Bourliot, and Poissant. Memorandum Opinion
delivered by Justice Jewell.
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                                    MANDATE

                  The Fourteenth Court of Appeals
                               NO. 14-20-00691-CV

Jetall Companies, Inc., Appellant          Appealed from the 164th District Court
                                           of Harris County. (Trial Court No.
v.                                         2020-38738). Memorandum Opinion
                                           delivered by Justice Jewell. Justices
Hoover Slovacek LLP, Appellee
                                           Bourliot and Poissant also participating.

TO THE 164TH DISTRICT COURT OF HARRIS COUNTY, GREETINGS:
       Before our Court of Appeals on March 29, 2022, the cause upon appeal to
revise or reverse your judgment was determined. Our Court of Appeals made its
order in these words:
       This cause, an appeal from the judgment in favor of appellee, Hoover
Slovacek LLP, signed October 31, 2020, was heard on the appellate record. We
have inspected the record and find no error in the judgment. We order the judgment
of the court below AFFIRMED.
      We order appellant, Jetall Companies, Inc., to pay all costs incurred in this
appeal.
       We further order this decision certified below for observance.
      WHEREFORE, WE COMMAND YOU to observe the order of our said
Court in this behalf and in all things have it duly recognized, obeyed, and executed.
      WITNESS, the Hon. Tracy Christopher, Chief Justice of our Fourteenth
Court of Appeals, with the Seal thereof affixed, at the City of Houston, Texas,
November 1, 2022.
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          THE SUPREME COURT OF TEXAS
                        Orders Pronounced September 23, 2022



                               ORDERS ON CAUSES
21-0652 THREE ACES TOWING, INC. D/B/A THREE ACES STORAGE v.
         CASSIE LANDRUM, INDIVIDUALLY, AND AS PERSONAL
         REPRESENTATIVE OF THE ESTATE OF JEFFREY LANDRUM; from
         Chambers County; 14th Court of Appeals District (14-19-00409-CV, 628
         SW3d 346, 06-24-21)
             Pursuant to Texas Rule of Appellate Procedure 59.1, after granting the
          petition for review and without hearing oral argument, the Court reverses the
                         court of appeals' judgment and renders judgment.

                                      Per Curiam Opinion

22-0078 IN RE MARIAM AYAD; from Collin County; 5th Court of Appeals District
         (05-21-00216-CV, ___ SW3d ___, 01-05-22)
         stay order issued February 22, 2022, lifted
          Pursuant to Texas Rule of Appellate Procedure 52.8(c), without hearing oral
          argument, the Court conditionally grants the petition for writ of mandamus.

                                      Per Curiam Opinion
   Case
    24-10120-smr
        23-03141 Claim#9-1
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                    ORDERS ON PETITIONS FOR REVIEW


            THE FOLLOWING PETITIONS FOR REVIEW ARE DENIED:

21-0497 DIAMONDBACK E & P LLC AND MAGNOLIA, LLC v. RIDGEFIELD
         PERMIAN, LLC AND ALBERT JEFFRYES GRIFFITHS, AS TRUSTEE
         OF THE ALBERT JEFFRYES GRIFFITHS TRUST; from Reeves County;
         8th Court of Appeals District (08-19-00156-CV, 626 SW3d 357, 05-05-21)
         2 petitions



22-0364 JOE ERVIN LOCKRIDGE v. STEPHANIE MARTIN; from Dallas County;
         5th Court of Appeals District (05-21-00717-CV, ___ SW3d ___, 04-05-22)


22-0539 WEST LOOP HOSPITALITY, LLC, JETALL COMPANIES, INC., AND
         ALI CHOUDHRI v. HOUSTON GALLERIA LODGING ASSOCIATES,
         LLC, RAYMOND MANAGEMENT CO., INC., THE ESTATE OF C.J.
         RAYMOND, AND BARRY PERKEL; from Harris County; 1st Court of
         Appeals District (01-19-00885-CV, 649 SW3d 461, 03-03-22)
                               (Justice Young not participating)



22-0553 JETALL COMPANIES, INC. v. HOOVER SLOVACEK LLP; from Harris
         County; 14th Court of Appeals District (14-20-00691-CV, ___ SW3d ___,
         03-29-22)
                               (Justice Young not participating)



22-0766 C. G. v. TEXAS DEPARTMENT OF FAMILY AND PROTECTIVE
         SERVICES; from Travis County; 3rd Court of Appeals District (03-22-
         00098-CV, ___ SW3d ___, 07-22-22)
         counsel's motion to withdraw granted
   Case
    24-10120-smr
        23-03141 Claim#9-1
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                              MISCELLANEOUS


       THE FOLLOWING PETITION FOR WRIT OF MANDAMUS IS DENIED:

22-0700 IN RE BRENDA L. CADDELL; from Dallas County; 5th Court of Appeals
         District (05-22-00435-CV, 649 SW3d 857, 07-05-22)

       THE FOLLOWING PETITION FOR WRIT OF PROHIBITION IS DENIED:

22-0695 IN RE RJR VAPOR CO., LLC; from Travis County; 3rd Court of Appeals
         District (03-22-00361-CV, ___ SW3d ___, 06-30-22)
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